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 1     IN THE CIRCUIT COURT OF RANKIN COUNTY, MISSISSIPPI

 2

 3      MONICA LEE, ET AL.                                 PLAINTIFF

 4

 5      VERSUS                                   CAUSE NO. 2022-73

 6

 7      RANKIN COUNTY, MISSISSIPPI, ET AL.     DEFENDANTS
        **************************************************
 8                 DEPOSITION OF MONICA R. LEE

 9      **************************************************

10                       APPEARANCES NOTED HEREIN
11

12                      DATE: OCTOBER 19, 2023
               PLACE: LAW OFFICE OF TRENT WALKER, ESQ.
13                    5255 KEELE STREET, STE A
                         JACKSON, MISSISSIPPI
14                         TIME: 9:55 A.M.

15
16

17      REPORTED BY: TODD J. DAVIS
                     CSR #1406, RPR
18

19

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                                                                            4

 1                             MONICA R. LEE,

 2      Having been first duly sworn, was examined and

 3      testified under oath as follows:

 4      EXAMINATION BY MR. DARE:

 5             Q.    Can you state your full name, including

 6      your maiden name, for the record please, ma'am?

 7             A.    Monica Rochelle Cameron Lee.

 8             Q.    Ms. Lee, my name is Jason Dare.            I'm

 9      here to take your deposition.            Have you ever given

10      a deposition before?
11             A.    No.

12             Q.    So I'm sure your counsel have been over
13      this with you, and I just kind of want to go

14      through a few ground rules of depositions.

15             A.    Okay.

16             Q.    As you notice, we don't have a jury
17      here, and it's in a casual setting.                I'm going to

18      ask you questions.         One, if you don't understand a

19      question, ask me to rephrase it.             Attorneys have a

20      habit of asking very confusing questions.               So if

21      you don't understand it, just say, "Can you ask
22      that a different way?"          And it won't offend me.

23      Is that all right?

24             A.    That's okay.

25             Q.    Another one is that we in the south have

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 1      couldn't breathe?

 2             A.    When I walked in, when he was in his

 3      back, the whole time he couldn't breathe, he

 4      couldn't breathe.        Never -- it was just he

 5      couldn't breathe.

 6             Q.    And that was when the first deputy was

 7      on Damien's back, correct?

 8             A.    He was -- correct, yes, sir.

 9             Q.    And I believe you also said when he was

10      walking out of the house, he also said, "I can't
11      breathe.     I'm tired"; is that right?

12             A.    Correct.
13             Q.    And to David Ruth, you told that you

14      believed it was because of the tussle that they

15      were in; is that right?

16             A.    That's right, correct.          That's what I
17      told him, yes.

18             Q.    Did you personally yourself see either

19      deputy use any force on Damien once he was in

20      handcuffs and subdued?

21             A.    The only thing I witnessed is the
22      kneeling in the back and the neck.                That's the

23      only thing.

24             Q.    No, ma'am.

25                          My question was, once he was

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 1      handcuffed and subdued, did you personally witness

 2      either of the deputies use any force once or after

 3      Damien was handcuffed and subdued?

 4             A.    No, not that I can remember, no.

 5             Q.    And you agree that Damien actually

 6      walked out of the house, correct?

 7             A.    Yes, with both officers on each side,

 8      yes.

 9             Q.    Right.     But Damien was walking and

10      talking at that point in time when he was going
11      out of the house?

12             A.    Correct.
13             Q.    Do you recall Damien pushing back

14      against the deputies and the deputies pushing

15      forward on him at all as he was walking out of the

16      house?
17             A.    No.

18             Q.    And to both MBI agents and David Ruth

19      you say that you didn't personally witness either

20      of the deputies put Damien into the patrol

21      vehicle; is that right?
22             A.    That's correct.

23             Q.    Because you would have gone back in the

24      house, right?

25             A.    Correct.

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 1             Q.    The first time that you ever saw Damien

 2      unresponsive was when the deputies had pulled him

 3      back out of the vehicle; is that right?

 4             A.    Correct.

 5                   MR. DARE:      Briefly off the record.

 6                     (A short recess was taken.)

 7      BY MR. DARE:

 8             Q.    Okay.     According to your statement to

 9      the MBI agents, one of the deputies was crying

10      after Damien was found unresponsive; is that
11      right?

12             A.    Yes, sir.
13             Q.    Did you personally see him crying, or

14      was that just your mom that did?

15             A.    I seen him standing at the back of the

16      car smoking a cigarette.
17             Q.    Was he upset?

18             A.    Pretty much, yes, sir.

19             Q.    And when you saw him, did you believe

20      that he was genuinely upset about Damien's

21      wellbeing at this point?
22                   MR. WALKER:      Object to the form.         You

23             can answer.

24      BY MR. DARE:

25             Q.    Just from what you saw.

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 1             A.    I don't remember.        I don't remember.

 2             Q.    You would agree with me, would you not,

 3      that Simpson General Hospital is much closer than

 4      UMMC, right?

 5             A.    Yes, sir.

 6             Q.    As you already testified, Simpson

 7      General had an ER, did it not?

 8             A.    Yes.

 9             Q.    With ER physicians?

10             A.    Yes, sir.
11             Q.    Good physicians at Simpson General

12      Hospital?      You work there.
13             A.    I wasn't there then.         I don't know.

14             Q.    If you know.

15             A.    I don't know.

16                   MR. WALKER:      Would it help if I said
17             that we're not maintaining a lack of medical

18             treatment or a failure to render medical aid

19             on the part of Rankin County?

20                   MR. DARE:      Or the deputies or with

21             anybody remaining?
22                   MR. WALKER:      Or anybody remaining.         I

23             don't think that's part of our claim.

24                   MR. DARE:      Got you.     I just wanted to

25             make sure.

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 1                   MR. WALKER:       Catouche, am I missing

 2             something here or not?          Okay, that's not part

 3             of our claim.

 4                   MR. DARE:      That will help, and I will

 5             move on.     Thank you.

 6      BY MR. DARE:

 7             Q.    Other than Pafford and the settlement

 8      the plaintiff reached with Pafford and the GoFund

 9      Me, has anybody else provided any money as a

10      result of Damien's passing?
11             A.    No.

12             Q.    You haven't named Sheriff Bryan Bailey
13      in this lawsuit that we're here on today.               The

14      defendants are Rankin County, Hunter Edward and

15      Luke Stickman.        I want to make sure, one, you

16      don't intend to sue Bryan Bailey; and two, if you
17      do, I want to determine if you have any testimony,

18      any evidence, any knowledge of anything that

19      Sheriff Bailey did or didn't do regarding Damien's

20      passing?

21                   MR. WALKER:       Let me interject and say
22             that but for any allegations in our pending

23             amended complaint, I don't think we made any

24             allegations with regard to Bryan Bailey.               If

25             I am wrong, then that pending amended

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 1                    CERTIFICATE OF COURT REPORTER

 2                    I, Todd J. Davis, Court Reporter and

 3       Notary Public in and for the County of Madison,

 4       State of Mississippi, hereby certify that the

 5       foregoing pages contain a true and correct

 6       transcript of the testimony of MONICA LEE, as

 7       taken by me in the aforementioned matter at the

 8       time and place heretofore stated, as taken by

 9       stenotype and later reduced to typewritten form

10       under my supervision to the best of my skill and
11       ability by means of computer-aided transcription.

12                    I further certify that under the
13       authority vested in me by the State of Mississippi

14       that the witness was placed under oath by me to

15       truthfully answer all questions in this matter.

16                    I further certify that I am not in the
17       employ of or related to any counsel or party in

18       this matter and have no interest, monetary or

19       otherwise, in the final outcome of this matter.

20                    Witness my signature and seal this the

21       29TH day of OCTOBER, 2023.
22                                         ________________________
                                           TODD J. DAVIS, CSR #1406
23
         My Commission Expires:
24       March 27, 2025

25

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